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13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
15                                               Case No. SACV18-00597-JLS-KESx
        FEDERAL TRADE COMMISSION,
16                                               THE FTC’S RESPONSE TO THE
              Plaintiff,                         RODRIGUEZ DEFENDANTS’
17                                               REQUEST FOR EXTEN[S]ION
              v.                                 OF TIME
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        AMERICAN HOME SERVICING
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        CENTER, LLC, et al.
20
              Defendants.
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1            Christine and Sergio Rodriguez have asked for an extra 30 days to file their
2      Opposition to the FTC’s Motion for Summary Judgment. DE 160. The FTC does
3      not oppose this particular extension if the Court believes it warranted.1 But, some
4      of their statements (such as, “no idea how long it will be” before they can resume
5      their defense) portend future requests that, if granted, would effectively give the
6      Rodriguezes the indefinite stay that they previously requested and that the Court
7      denied.2 Such a stay would be unfair to the Rodriguezes’ victims, who on top of
8      losing thousands of dollars and sometimes even their homes, would also be
9      deprived of a resolution to this matter. The FTC would therefore oppose
10     additional extensions without more information about Ms. Rodriguez’s
11     prognosis.3
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                 The Rodriguezes argue that Ms. Rodriguez’s medical condition also
13     precludes a response from Mr. Rodriguez, even though Ms. Rodriguez is not his
14     lawyer and cannot act as such. Even so, the FTC does not oppose this particular
       extension for Mr. Rodriguez. But, the FTC would likely oppose any future requests
15     from Mr. Rodriguez based on facts specific to Ms. Rodriguez’s health.
               2
                 While the FTC does not doubt Ms. Rodriguez’s medical condition, there
16     are some troubling inconsistencies in their story. For example, they say in their
17     request that Ms. Rodriguez was admitted to the hospital on January 8, but they said
       in their prior Request to Stay that she was admitted on February 7. DE 156 at 1.
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18               Although it is unrelated to the merits of their motion, the Rodriguezes also
       say that the FTC “restricted [their] access to LeadTrac.” DE 160 at 3. This is not
19     true. While the former Receiver provided the FTC access to Defendants’ customer
       files, the FTC never had control over either Leadtrac or access to Leadtrac. The
20     FTC did not know of any change in their access to LeadTrac until they filed their
21     request.
               And, even if they were able to use LeadTrac as they say they could, namely
22     to show that they resolved complaints to the satisfaction of their customers, it
       would do nothing to counter the evidence that they made up their approval rates,
23     and that they told clients they were eligible when they could not have done so
24     truthfully. Statement of Uncontroverted Facts at ¶¶ 31, 160-167, DE 154-2 at 31,
       34-36. Nor would it counter the evidence of their control over and/or participation
25     in the deceptive conduct of American Home Servicing Center, LLC and National
       Advocacy Center, LLC. See generally id. at ¶¶ 322-339, 350-353, DE 154-2 at 83-
26     86, 88-89.
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1      Dated: April 2, 2019                      Respectfully submitted,
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3                                                /s/ Sangjoon Han
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1                                CERTIFICATE OF SERVICE
2            I, Sangjoon Han, hereby certify that on this 2nd day of April, 2019, I served
3      the foregoing on the following parties by first-class mail:
4
5                   Eve Christine Rodriguez
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9                   Sergio Lorenzo Rodriguez
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12
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14
                                                      /s/ Sangjoon Han
15                                                    Sangjoon Han
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